Case 3:22-cv-03195-WHO Document 125-4 Filed 10/04/24 Page 1 of 5




                 EXHIBIT 1
     Case 3:22-cv-03195-WHO Document 125-4 Filed 10/04/24 Page 2 of 5




 1                    UNITED STATES DISTRICT COURT
 2                  NORTHERN DISTRICT OF CALIFORNIA
 3                        SAN FRANCISCO DIVISION
 4
 5   - - - - - - - - - - - - - - - - - -
 6   RENÉ QUIÑONEZ and MOVEMENT INK         )
 7   LLC,                                   )   CASE NO.
 8                     Plaintiffs,          )   3:22-CV-03195-WHO
 9   v.                                     )
10   UNITED STATES OF AMERICA,              )
11                     Defendant.           )
12   - - - - - - - - - - - - - - - - - -
13
14
15                   DEPOSITION OF RENÉ A. QUIÑONEZ
16                       WEDNESDAY, JUNE 5, 2024
17
18
19
20
21                    BEHMKE REPORTING AND VIDEO SERVICES, INC.
22                        BY:   SUZANNE I. ANDRADE, CSR NO. 10682
23                                  455 MARKET STREET, SUITE 1800
24                               SAN FRANCISCO, CALIFORNIA      94105
25                                                    (415) 597-5600

             BEHMKE REPORTING AND VIDEO SERVICES, INC.                  1
                           (415) 597-5600
     Case 3:22-cv-03195-WHO Document 125-4 Filed 10/04/24 Page 3 of 5




 1
 2
 3
 4
 5
 6
 7
 8
 9
10              Deposition of RENÉ A. QUIÑONEZ, taken on behalf
11   of Defendant, at 1301 Clay Street, Third Floor, Oakland,
12   California, commencing at 9:21 A.M., WEDNESDAY, JUNE 5,
13   2024, before Suzanne I. Andrade, Certified Shorthand
14   Reporter No. 10682, pursuant to Notice.
15
16
17
18
19
20
21
22
23
24
25

             BEHMKE REPORTING AND VIDEO SERVICES, INC.                  2
                           (415) 597-5600
     Case 3:22-cv-03195-WHO Document 125-4 Filed 10/04/24 Page 4 of 5




 1               What happened after that?
 2        A.     Yeah, I left.   I mean, I trust that they're
 3   going to do their job.
 4        Q.     So fair to say that the last time that you saw
 5   the packages was once they have -- where they were
 6   placed in the bin next to the retail clerk station?
 7        A.     Correct.
 8        Q.     And would you also agree that you don't have
 9   any firsthand knowledge of what happened to the parcels
10   after that time?
11        A.     Other than them being seized?
12        Q.     Well, did you -- were you there to see anything
13   else that happened to the parcels after you dropped them
14   off in that bin?
15        A.     No.
16        Q.     Okay.   You mailed the first set of parcels on
17   June 3rd, correct?
18        A.     In regards to the ones we're talking about?
19        Q.     Right, the ones at issue in this case.       I
20   believe you called them the original four parcels.
21        A.     Yes.
22        Q.     You mailed those on June 3rd, 2020, correct?
23        A.     Yes.
24        Q.     And on June 4th, 2020 -- let me strike that.
25               Do you recall checking the tracking updates at

               BEHMKE REPORTING AND VIDEO SERVICES, INC.                106
                             (415) 597-5600
     Case 3:22-cv-03195-WHO Document 125-4 Filed 10/04/24 Page 5 of 5




 1   STATE OF CALIFORNIA             )
 2   COUNTY OF SAN FRANCISCO         ) ss.
 3               I hereby certify that the witness in the
 4   foregoing deposition, RENÉ A. QUIÑONEZ, was by me duly
 5   sworn to testify to the truth, the whole truth and
 6   nothing but the truth, in the within-entitled cause;
 7   that said deposition was taken at the time and place
 8   herein named; and that the deposition is a true record
 9   of the witness's testimony as reported by me, a duly
10   certified shorthand reporter and a disinterested person,
11   and was thereafter transcribed into typewriting by
12   computer.
13               I further certify that I am not interested in
14   the outcome of the said action, nor connected with nor
15   related to any of the parties in said action, nor to
16   their respective counsel.
17               IN WITNESS WHEREOF, I have hereunto set my
18   hand this 17th day of June, 2024.
19   Reading and Signing was:
20   ___ requested     ___ waived      _x_ not requested
21
22
23
24             SUZANNE I. ANDRADE, CSR NO. 10682
25             STATE OF CALIFORNIA

             BEHMKE REPORTING AND VIDEO SERVICES, INC.                  242
                           (415) 597-5600
